Case 2:22-cv-12969-LVP-EAS ECF No. 51, PageID.1616 Filed 02/10/25 Page 1 of 6




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

AIRPRO DIAGNOSTICS, LLC, a
Florida limited liability company,     Case No. 22-12969-LVP-EAS

      Plaintiff,                       Honorable Linda V. Parker

v.                                     Magistrate Judge: Elizabeth A.
                                       Stafford
DREW TECHNOLOGIES, INC., a
Michigan corporation, OPUS IVS,
INC., a Delaware corporation,
AUTOENGINUITY, LLC, an Arizona
limited liability corporation, and
BRIAN HERRON, an individual,

      Defendants.
and

OPUS IVS, INC.

      Defendant/Counter-Plaintiff,
v.

AIRPRO DIAGNOSTICS, LLC, a
Florida limited liability company,

      Plaintiff/Counter-Defendant.
Adam J. Brody (P62035)                 William J. Stapleton (P37339)
Ziyad I. Hermiz (P72236)               Rachel N. Hanson (P82828)
VARNUM LLP                             HOOPER HATHAWAY, PC
Attorneys for Plaintiff/Counter-       Attorneys for Defendants/Counter-
Defendant                              Plaintiff
Bridgewater Place                      126 S. Main Street
333 Bridge Street NW, 17th Floor       Ann Arbor, MI 48104
P.O. Box 352                           (734) 662-4426
Grand Rapids, MI 49501-0352            wstapleton@hooperhathaway.com
(616) 336-6000                         rhanson@hooperhathaway.com
Case 2:22-cv-12969-LVP-EAS ECF No. 51, PageID.1617 Filed 02/10/25 Page 2 of 6




ajbrody@varnumlaw.com
zihermiz@varnumlaw.com                        Samuel A. Slater (#43212)
                                              T. Nelson Hughes, Jr. (#59342)
                                              WYRICK ROBBINS LLP
                                              Attorneys for Defendants/Counter-
                                              Plaintiff
                                              4101 Lake Boone Trail, Suite 300
                                              Raleigh, NC 27607
                                              (919) 781-4000
                                              sslater@wyrick.com
                                              nhughes@wyrick.com



                 STIPULATION AND ORDER REGARDING
                        MOTION TO COMPEL

      WHEREAS, Plaintiff filed a Motion to Compel Production of Documents

(ECF No. 44), Defendants filed a response to Plaintiff's motion (ECF No. 47), and

Plaintiff filed a reply in support of its motion (ECF No. 50);

      WHEREAS, the Court ordered the parties to participate in a Status

Conference on January 24, 2025, and thereafter issued an Order to Meet and Confer

(ECF No. 49); and

      WHEREAS, the parties have complied with the Court's Order to Meet and

Confer and have reached a resolution of the issues raised in Plaintiff's motion.

      The parties, through their respective counsel, therefore stipulate and agree as

follows:

      IT IS HEREBY STIPULATED AND AGREED that Plaintiff's Motion is

withdrawn as the parties have reached a resolution of the issues raised in Plaintiff's
                                          1
Case 2:22-cv-12969-LVP-EAS ECF No. 51, PageID.1618 Filed 02/10/25 Page 3 of 6




motion. The parties shall retain the right to seek appropriate relief with the Court in

connection with any issues that arise with respect to the parties’ resolution. The

parties shall each bear their own costs including attorneys’ fees incurred in

connection with Plaintiff’s Motion.

      STIPULATED AND AGREED TO BY:



 _/s/ Adam J. Brody_____________              _/s/ Samuel A. Slater____________
 Adam J. Brody (P62035)                       Samuel A. Slater (#43212)
 Ziyad I. Hermiz (P72236)                     T. Nelson Hughes, Jr. (#59342)
 VARNUM LLP                                   WYRICK ROBBINS LLP
 Attorneys for Plaintiff/Counter-             Attorneys for Defendants/Counter-
 Defendant                                    Plaintiff
 Bridgewater Place                            4101 Lake Boone Trail, Suite 300
 333 Bridge Street NW, 17th Floor             Raleigh, NC 27607
 P.O. Box 352                                 (919) 781-4000
 Grand Rapids, MI 49501-0352                  sslater@wyrick.com
 (616) 336-6000                               nhughes@wyrick.com
 ajbrody@varnumlaw.com
 zihermiz@varnumlaw.com                       Dated: February 7, 2025

 Dated: February 7, 2025




                                          2
Case 2:22-cv-12969-LVP-EAS ECF No. 51, PageID.1619 Filed 02/10/25 Page 4 of 6




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

AIRPRO DIAGNOSTICS, LLC, a
Florida limited liability company,        Case No. 22-12969-LVP-EAS

      Plaintiff,                          Honorable Linda V. Parker

v.                                        Magistrate Judge: Elizabeth A.
                                          Stafford
DREW TECHNOLOGIES, INC., a
Michigan corporation, OPUS IVS,
INC., a Delaware corporation,
AUTOENGINUITY, LLC, an Arizona
limited liability corporation, and
BRIAN HERRON, an individual,

      Defendants.
and

OPUS IVS, INC.

      Defendant/Counter-Plaintiff,
v.

AIRPRO DIAGNOSTICS, LLC, a
Florida limited liability company,

      Plaintiff/Counter-Defendant.
Adam J. Brody (P62035)                    William J. Stapleton (P37339)
Ziyad I. Hermiz (P72236)                  Rachel N. Hanson (P82828)
VARNUM LLP                                HOOPER HATHAWAY, PC
Attorneys for Plaintiff/Counter-          Attorneys for Defendants/Counter-
Defendant                                 Plaintiff
Bridgewater Place                         126 S. Main Street
333 Bridge Street NW, 17th Floor          Ann Arbor, MI 48104
P.O. Box 352                              (734) 662-4426
Grand Rapids, MI 49501-0352               wstapleton@hooperhathaway.com
(616) 336-6000                            rhanson@hooperhathaway.com
                                      3
Case 2:22-cv-12969-LVP-EAS ECF No. 51, PageID.1620 Filed 02/10/25 Page 5 of 6




 ajbrody@varnumlaw.com
 zihermiz@varnumlaw.com                        Samuel A. Slater (#43212)
                                               T. Nelson Hughes, Jr. (#59342)
                                               WYRICK ROBBINS LLP
                                               Attorneys for Defendants/Counter-
                                               Plaintiff
                                               4101 Lake Boone Trail, Suite 300
                                               Raleigh, NC 27607
                                               (919) 781-4000
                                               sslater@wyrick.com
                                               nhughes@wyrick.com


                ORDER REGARDING MOTION TO COMPEL

      This matter having come before the Court on the stipulation of the parties, by

and through their attorneys, and the Court being otherwise fully advised in the

premises:

      IT IS HEREBY ORDERED that Plaintiff's Motion is withdrawn as the

parties have reached a resolution of the issues raised in Plaintiff's motion.

      IT IS FURTHER ORDERED that the parties shall retain the right to seek

appropriate relief with the Court in connection with any issues that arise with respect

to the parties’ resolution. The parties shall each bear their own costs including

attorneys’ fees incurred in connection with Plaintiff’s Motion.




                                           4
Case 2:22-cv-12969-LVP-EAS ECF No. 51, PageID.1621 Filed 02/10/25 Page 6 of 6




      IT IS SO ORDERED.

                                   s/Elizabeth A. Stafford_______
                                   ELIZABETH A. STAFFAORD
                                   United States Magistrate Judge

Dated: February 10, 2025




                                      5
